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                      UNITED STATES COURT OF APPEALS                         FILED
                              FOR THE NINTH CIRCUIT                          MAR 30 2022
                                                                         MOLLY C. DWYER, CLERK
                                                                           U.S. COURT OF APPEALS


   STEPHANIE CLIFFORD, AKA Stormy                   No.   18-56351
   Daniels,
                                                    D.C. No.
                Plaintiff-Appellant,                2:18-cv-06893-SJO-FFM
   v.                                               Central District of California,
                                                    Los Angeles
   DONALD J. TRUMP,
                                                    ORDER
                Defendant-Appellee.

  Before: Lisa B. Fitzgerald, Appellate Commissioner.

                                           I
                                       Background

        The court granted appellee Donald J. Trump’s motion for reasonable

  attorneys’ fees for defending against appellant Stephanie Clifford’s appeal,

  pursuant to the Texas Citizens Participation Act (TCPA), Tex. Civ. Prac. &

  Rem. Code § 27.009(a)(1). See Clifford v. Trump, 818 F. App’x 746, 747 (9th

  Cir. 2020).1 The court referred to the appellate commissioner the determination

  of an appropriate amount of fees. See 9th Cir. R. 39-1.9. Trump has


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          Texas law governs the fee award, unless it runs counter to a federal statute
  or rule of court. See Indep. Living Ctr. of S. Cal. v. Kent, 909 F.3d 272, 281-84
  (9th Cir. 2018); Northon v. Rule, 637 F.3d 937, 938-39 (9th Cir. 2011).


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  filed a letter requesting additional fees for opposing Clifford’s petition for a writ of

  certiorari in the United States Supreme Court.

                                            II
                       Attorneys’ Fees For Defending Against Appeal

           Trump requests $272,727.75 in fees for 387.5 hours of work in the court of

  appeals by the law firm of Harder LLP in Los Angeles, California.

  A. Reasonable Hourly Rates

           Trump requests discounted effective hourly rates, as follows:

   Attorney                  Title          Bar     Rate        Hours      Fees
   Charles J. Harder         Partner        1996    $841.76      45.50     $ 38,300.08
   Niloo Savis               Sr. Attorney   1996    $775.00      20.50     $ 15,887.50
   Henry L. Self III         Sr. Attorney   2002    $775.00      17.50     $ 13,562.50
   Dilan A. Esper            Sr. Attorney   1995    $691.48     103.25     $ 71,395.31
   Lan P. Vu                 Sr. Attorney   2004    $682.66     155.25     $105,982.97
   Steven H. Frackman        Associate      2009    $606.58      45.50     $ 27,599.39
   Total                                                        387.50     $272,727.75

  Clifford argues that the court should award hourly rates of $450 to $500 for the

  partner and senior attorneys, and $350 for the associate. Clifford cites California

  and federal court decisions awarding lower hourly rates.

           But the district court awarded comparable requested hourly rates for

  Trump’s attorneys’ 2018 work in this case, as follows:

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   Attorney                Title           Bar     Rate
   Charles J. Harder       Partner         1996 $841.64
   Ryan J. Stonerock       Partner         2006 $756.49
   Dilan A. Esper          Sr. Attorney    1995 $611.99
   Steven H. Frackman      Associate       2009 $586.50
   Ted S. Nguyen           Associate       2016 $307.60

  The district court determined that the requested hourly rates were reasonable based

  on the unique nature of this litigation, the court’s familiarity with the fees charged

  in the jurisdiction, and the awards in similar First Amendment anti-SLAPP federal

  litigation involving highly qualified attorneys. See Clifford v. Trump, No. 2:18-cv-

  06893-SJO-FFM, 2018 WL 6519029, at *4 (C.D. Cal. Dec. 11, 2018).

        Trump’s requested hourly rates for the 2018-20 court of appeals work also

  are reasonable and in line with prevailing market rates for similar services by

  comparable attorneys. See Blum v. Stenson, 465 U.S. 886, 895 n.11 (1984). The

  respective $0.12, $79.49, and $20.08 increases in Harder’s, Esper’s, and

  Frackman’s hourly rates are reasonable because the appellate work was performed

  later. Savis’s and Self’s hourly rate is reasonably $18.51 higher than the district

  court hourly rate for Stonerock because they have more experience. Vu’s hourly

  rate is $73.83 lower than the district court hourly rate for Stonerock, even though

  she has more experience. Trump’s requested hourly rates are awarded.


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  B. Reasonably Expended Hours

            On Ninth Circuit Form 9, Trump claims that the attorneys spent the

  requested 387.5 hours as follows:

   Services          CH      NS      HS      DE       LV       SF      Hours    Amount

   Conferences        0       0       0        0.75    0.75     0.75     2.25   $   1,485.540

   Rev. Record        0       0       0        5.75    9.50     0       15.25   $ 10,461.280

   Leg. Research      0.50    0       0      17.00    28.25    10.00    55.75   $ 37,526.985

   Prep. Briefs       2.00    0       0      20.50    66.00    24.50 113.00     $ 75,775.630

   Prep. Arg.        38.00    0       0      54.00    37.00    10.25 139.25     $100,802.665

   Attend Arg.        5.00    0       0        5.00    5.00     0       15.00   $ 11,079.500

   Fee Motion         0      20.50   17.50     0.25    8.75     0       47.00   $ 35,596.145

   Total:            45.50   20.50   17.50   103.25   155.25   45.50 387.50     $272,727.745


            1. Federal Rule Of Civil Procedure 12(b)(6) Motion To Dismiss

            Clifford argues that Trump’s fee request does not specify the time spent on

  Trump’s alternative motion to dismiss under Federal Rule of Civil Procedure

  12(b)(6), and that this time may not be awarded under the TCPA. This argument

  lacks merit. The district court dismissed Clifford’s defamation action pursuant to

  Trump’s anti-SLAPP motion to strike under the TCPA, and denied as moot

  Trump’s alternative motion to dismiss under Rule 12(b)(6). Clifford appealed

  from the dismissal pursuant to the anti-SLAPP motion, and all of Trump’s



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  attorneys’ time on appeal was related to that issue. Trump does not seek

  reimbursement of any time related to the alternative Rule 12(b)(6) motion to

  dismiss. Although Clifford challenged on appeal the district court’s use of the

  Rule 12(b)(6) standard to consider whether the defamation claim was properly

  stated, see Clifford, 818 F. App’x at 747, this issue was related to the dismissal

  pursuant to the anti-SLAPP motion, and therefore the time spent on it may be

  awarded under the TCPA.

        2. Preparing Answering Brief

        Clifford argues that it was unreasonable to employ six attorneys and spend

  nearly 200 hours on preparing the answering brief, and that no more than 50 hours

  should be awarded for this work. Clifford argues that the appeal involved the

  straightforward application of established law and was resolved by memorandum

  disposition, and that Trump briefed the same issues in the district court and had the

  benefit of the district court’s published decision.

        Yet four attorneys – Vu, Esper, Frackman, and, to a small extent, Harder –

  billed 180 hours in the conferences, record review, legal research, and brief

  preparation categories for all work on the appeal other than oral argument and the

  fee motion. (Two other attorneys – Savis and Self – worked only on the fee

  motion.) During this time, in addition to preparing the 12,716-word answering


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  brief, the four attorneys prepared a request for an extension of time, one volume of

  supplemental excerpts of record, a motion for judicial notice, and a citation of

  supplemental authorities.

        The reasonable fee determination is based on whether the requested hours

  for this particular legal team are justified for the work performed and the results

  achieved, not speculation as to how the case might have been staffed differently.

  See, e.g., Moreno v. City of Sacramento, 534 F.3d 1106, 1114-15 (9th Cir. 2008).

  Also, preparing a district court motion to strike and an appellate answering brief

  are not commensurate tasks, and the research would have needed updating after the

  district court motion and decision. Id. at 1112, 1113. Clifford cites no identical

  portions of the motion and brief, and the brief shows significant revision.

        Clifford’s challenge to applying the Texas anti-SLAPP law in federal court

  and the determination that Trump’s comment was protected opinion warranted

  more than the 50 hours that Clifford proposes for the appellate work other than oral

  argument and the fee motion. See Clifford, 818 F. App’x at 747-51. Nevertheless,

  Trump’s attorneys should have been able to complete this work in fewer hours. Vu

  principally drafted the answering brief and revised it, Frackman drafted a portion

  of the brief and revised it, and Esper and Harder revised the brief. To reflect a

  reasonable time expenditure for the appellate work other than oral argument and


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  the fee motion, particularly answering brief preparation, Trump is awarded 50

  hours rather than the requested 66 hours for Vu in the brief preparation category.

        3. Preparing For Oral Argument

        Trump requests 139.25 hours for preparing for oral argument, and 15 hours

  (five hours apiece) for Harder’s, Esper’s, and Vu’s attendance at oral argument.

  Harder presented the oral argument in Pasadena. Clifford objects to Trump’s

  request for nearly 160 hours for this work, arguing that the appeal was

  straightforward and therefore the court should award no more than 24 hours for

  preparing for the oral argument and 2 hours for attending the oral argument.

        Oral argument preparation and attendance warranted a greater time

  expenditure than Clifford proposes, but Trump’s requested hours for preparing for

  the oral argument nevertheless are excessive. Trump states that Harder prepared

  for oral argument by participating in mock court sessions, with the assistance of

  Esper and Vu. Trump states that Esper and Vu prepared materials and summaries

  to familiarize Harder with the legal and factual issues on appeal, because Harder

  spent less than three hours on the briefing. The time records show that Frackman

  also billed some time for preparing oral argument materials.

        Esper billed far more time than the other attorneys – 54 hours – in the oral

  argument preparation category. Most of Esper’s time was spent preparing and


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  revising memoranda and an outline, although Trump’s attorneys had already

  prepared an answering brief. A reasonable time expenditure for Esper for oral

  argument preparation is 30 hours, and these hours are awarded. With that

  adjustment, the oral argument preparation and attendance time is reasonable.

        4. Preparing Fee Motion

        Clifford objects to Trump’s requested 47 hours for preparing the fee motion,

  arguing that the court should award 10 hours for the fee motion. The requested

  time was reasonably expended, in part because Trump does not request fees for

  preparing a reply to Clifford’s response to the fee motion. Fees for preparing the

  fee motion may be recovered under the TCPA. See Cruz v. Van Sickle, 452

  S.W.3d 503, 526-27 (Tex. App. 2014).

        5. Duplication Of Effort

        Clifford objects to some of Harder’s, Esper’s, and Frackman’s time entries

  that are similar to Vu’s time entries, and to two 1.5-hour time entries by Vu in the

  same day, alleging that the work was duplicative. But the time entries do not show

  unnecessary duplication of effort, and Trump’s attorneys have sufficiently

  explained their overlapping roles on appeal. Cf. Toledo v. KBMT Operating Co.,

  581 S.W.3d 324, 331 (Tex. App. 2019). Any unnecessary duplication has been

  addressed by the reductions in the brief and oral argument preparation categories.


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            6. Quarter-Hour And Block Billing

            Clifford requests a 20-percent across-the-board reduction in the requested

  hours for the use of quarter-hour billing increments, and a discretionary reduction

  for the practice of block billing. But Trump’s attorneys’ time entries are adequate

  to determine the reasonableness of the requested hours, and no reduction is

  justified on these grounds. The block-billed time entries often include the smaller

  units of time spent on particular activities. Clifford suggests but does not show

  that the billing practices inflated the hours. If inflation occurred, it is adequately

  accounted for by the adjustments above in the briefing and oral argument hours.

  C. Summary

            Trump’s attorneys reasonably expended the remaining 347.5 hours, and the

  hours are awarded. Trump is awarded $245,209.67 in attorneys’ fees, as follows:

   Services          CH      NS      HS      DE      LV       SF      Hours    Amount

   Conferences        0       0       0       0.75    0.75     0.75     2.25   $   1,485.540

   Rev. Record        0       0       0       5.75    9.50     0       15.25   $ 10,461.280

   Leg. Research      0.50    0       0      17.00   28.25    10.00    55.75   $ 37,526.985

   Prep. Briefs       2.00    0       0      20.50   50.00    24.50    97.00   $ 64,853.070

   Prep. Arg.        38.00    0       0      30.00   37.00    10.25 115.25     $ 84,207.145

   Attend Arg.        5.00    0       0       5.00    5.00     0       15.00   $ 11,079.500

   Fee Motion         0      20.50   17.50    0.25    8.75     0       47.00   $ 35,596.145

   Total:            45.50   20.50   17.50   79.25   139.25   45.50 347.50     $245,209.665


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                                             III
             Attorneys’ Fees For Opposing Petition For A Writ Of Certiorari

         Trump’s letter request for $6,268.95 in attorneys’ fees for opposing

   Clifford’s petition for a writ of certiorari is denied. Ninth Circuit Rule 39-1.6(b)

   requires that a request for fees must be supported by a memorandum showing legal

   entitlement to fees and accompanied by Ninth Circuit Form 9, a detailed

   itemization of the tasks performed each date and the amount of time spent on each

   task, a showing that the hourly rates claimed are legally justified, a declaration

   attesting to the accuracy of the information submitted, and a statement regarding

   timeliness. Trump complied with Rule 39-1.6(b) in filing his motion for fees on

   appeal, showing that he was aware of the requirements of the rule, and nevertheless

   failed to supply the required information with this additional request for fees.

                                           IV
                                        Conclusion

         Pursuant to the Texas Citizens Participation Act, Tex. Civ. Prac. & Rem.

   Code § 27.009(a)(1), attorneys’ fees in the amount of $245,209.67 are awarded in

   favor of Donald J. Trump and against Stephanie Clifford. This order amends the

   court’s mandate.




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